                       Case 1:22-cv-10378-RGS Document 1 Filed 03/10/22 Page 1 of 8

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Pro Se 1 (Rev. 09/16) Complaint for a Civil Case                                   IN CL=as/ -;--;
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                                        UNITED STATES lJrSTRI(]f rq~T
                                                                         for the
                                                                               f    ...    ;,    ~---       ,,..._        ,._


                                                            District of Mass'ac1nise~                     11 ':'' ,       ,;    .         .,




                                                                           )              Case No.
                   DAVID A SILVIA PRO-SE
                                                                           )                                                  (to be filled in by the Clerk's Office)
                                                                           )
                              Plaint(ff(s)
(Write the full name of each p/aint(ff who is filing this complaint.
lf the names of all the plaintiffe cannot fit in the space above,
please write "see attacl,ed" in the space and attach an additional
                                                                           )
                                                                           )
                                                                           )
                                                                                          Jury Trial: (checkone)                                    •   Yes ~No

page with the fall list of names.)                                         )
                                  -v-                                      )
                                                                           )
MANHUNT HOSPITALITY, LLC D/B/A QUAILITY INN                                )
                                                                           )
                                                                           )
                              Defenda11t(s)
(Write the full name of each defendant who is being sued. Jf the
                                                                           )
names of all the defendants cannot fi t in the space above, please         )
write "see attached" in the space and attach an additional page            )
with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

1.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name                                  DAVID A SILVIA
                                 Street Address                        PO BOX 789
                                 City and County                       BRISTOL,
                                 State and Zip Code                    RHODE ISLAND 02809
                                 Telephone Number                      401-226-9519
                                 E-mail Address                        DAVIDSILVIA60@GMAIL.COM


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed.




                                                                                                                                                                        Page I of 5
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Pro Se I (Rev. 09/ 16) Complaint for a Civil Case


                      Defendant No. 1
                                 Name                         MANHUNT HOSPITALITY, LLC
                                 Job or Title (if known)      D/8/A QUAILITY INN
                                 Street Address               341 HIGHLAND AVE
                                 City and County              SEEKONK,
                                 State and Zip Code           MA 02771
                                 Telephone Number             508-336-
                                 E-mail Address (if known)    UNKNOWN


                      Defendant No. 2
                                 Name
                                  Job or Title (if known)
                                                                                              -----------
                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                  E-mail Address (if known)


                       Defendant No. 3
                                  Name
                                  Job or Title (if known)
                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                  E-mail Address (if known)


                       Defendant No. 4
                                  Name
                                  Job or Title (if known)
                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                                                                   --- - - - - - - -
                                  E-majJ Address (if known)




                                                                                                       Page 2 of 5
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Pro Se I (Rev. 09/ 16) Complaint for a Civil Case


                      Defendant No. 1
                                 Name                         MANHUNT HOSPITALITY, LL.=.
                                                                                     C_ _ _ _ _ _ _ _ _ _ _
                                 Job or Title (if known)      0/8/A QUAILITY INN
                                 Street Address
                                                              341 HIGHLA_..::.N..:.:D:__A
                                                                                        :__:_V
                                                                                             .:...:E
                                                                                                   =----- - - - - - - - - - - - -
                                 City and County              SEEKONK~, _ _ __
                                 State and Zip Code           MA 02771
                                 Telephone Number             508-336-
                                 E-mail Address (if known)    UNKNOWN


                      Defendant No. 2
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 3
                                 Name
                                 Job or Title (if J..71own)
                                 Street Address
                                                                                                         ---- ---                   -


                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                     Defendant No. 4
                                Name
                                                                              ------------- -                         -      --
                                Job or Title (if known)
                                 Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (((kn.own)



                                                                                                                          Page 2 of 5
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II.        Basis for Jurisdiction

          Federal courts are courts oflimitedjurisdiction (limited powt:r). Generally, only two types ofcases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U .S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount al take is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                  ~Federal question                                 D Diversity of citizenship
           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the pecific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
                      VIOLATION TO THE AMERI W/DISABILITY ACT 1990
                       HOUSING/DISCRIMINATION




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      l.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The pla.intiff, (name) DAVID A SILVIA                               , is a citizen of the
                                            State of (name) RHODE ISLAND


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                               , is incorporated
                                            under the laws of the State of (name)
                                             and has its princi.pal place of business in the State of (name)



                                  (Jfmore than one plaintiff is named in the complaint, attach an additional page providing the
                                  same information for each additional plaintiff.)

                       2.         The Defendant(s)

                                  a.         If the defendant is an individual
                                             The defendant, (name)                                               , is a citizen of

                                             the State of (name)                                               Or is a citizen of
                                              (foreign nation)

                                                                                                                             Page 3 of 5
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                                 b.        If the defendant is a corporation
                                            The defendant, (name) MANHUNT HOSPITALITY, LLC                 , is incorporated under

                                            the laws of the State of (name)    MASS                                  , and has its
                                            principal place of business in the State of (name)   SEEKONK
                                            Or is incorporated under the laws of (foreign nation}
                                            and has its principal place of business in (name)


                                 (If more than one defendant is named in the complaint, attach an additional page providing the
                                 same information for each additional defendant.)

                      3.         The Amount in Controversy

                                  The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                  $250,000.00




 III.      Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
           THE PREVIOUS COMPLAINT (2021-11771-RGS WAS DISMISSED WITHOUT PREJUICE AS DEFENDANT
           WOULD NOT AGREE TO FEDERAL MEDIATOR. SMALL CLAIMS ACTION FILED IN RI 6TH DISTRICT
           COURT AND DISMISSED DUE TO BUSINESS LOCATION BEING MASS, AND PLAINTIFF IS RI RESIDENT.
           DEFENDANT CONTINUES TO DENYI THE ACTION FILED AGAINST HIM, AS HE DISCRIMINATED AGAINST
           MYSELF. AS A HANDICAP CITIZENVETERAN , A WEEKLY FEE OF $600 WAS AGREED ON TO STAY ON
           THE PROPERTY. WITHOUT ANY PROPER NOTIFICATION I WAS TOLD TO LEAVE AS I WAS UNWANTED.
           WITHOUT ANY REASON WHY OTHER THEN A FALSE STATEMENT MADE TO THE PD I OWED $144.00.
           I WAS FORCED TO LEAVE WHICH REQUIRED MEDICAL TRANSPORT TO THE VAMC ED FOR

 IV.        Relief

            State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
            arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
            the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
            punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
            punitive money damages.
           I ASK THIS COURT FOR RELIEF IN THE AMOUNT OF $250,000.00 DUE TO THE VIOLATIONS TO THE ADA
           LAW, ANO AS PRO-SE I HAD TO HIRE AN ATTORNEY TO REPRESENT ME. ADDED TO THESE ISSUES IS
           CREDIT CARD FRAUD ACTION THE DEFENDANT KEPT MAKING UN-AUTHORIZE CHARGES ON MY CARD
           FOR SEVERAL DIFFERENT AMOUNTS, AND DENIED DO IT. ON OCT 7TH HE WAS CAUGHT MAKING A
           CHARGE FOR $58.00 WITH A UN-SWIPED METHOD AS HE DID NOT HAVE POSSION OF THE CARD.
           I FILED A COMPLAINT WITH THE SEEKONK PD ANO THEY REFUSED TO FILE CHARGES. (SEE
           ~~~HJ~_~<?_ S!lff~M~~~~)-__p~~~t-J~ ~y ?~_Y ~~~-~H-~~--10_-~.!~~'r:_~~~~~Ep_~~-C!..l~A~.-~!. ~<?_s>M,
                                                                                                                           Page 4 of 5
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                                b.         If the defendant is a corporation
                                           The defendant, (nam e) MANHUNT HOSPITALITY, LLC               , is incorporated under
                                           the laws of the State of (name)     MASS                                , and has its
                                           principal place of business in the State of (nam e) SEEKONK
                                                                                                   -------
                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (nam e)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
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         THE PROPERTY. WITHOUT ANY PROPER NOTIFICATION I WAS TOLD TO LEAVE AS I WAS UNWANTED.
         WITHOUT ANY REASON WHY OTHER THEN A FALSE STATEMENT MADE TO THE PD I OWED $144.00.
         ~-WAS-F-OR-Gef>-+G--h-eA1/-E----WFf.lCM-Re-QlJIRe-G>-Me-DlGAb--T-RANSP-GRf- T-O+Fl-e----VAMG-e-G>-F-GR- - - -

IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
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          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
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         LAW, AND AS PRO-SE I HAD TO HIRE AN ATTORNEY TO REPRESENT ME. ADDED TO THESE ISSUES IS
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         CHARGE FOR $58.00 WITH A UN-SWIPED METHOD AS HE DID NOT HAVE POSSION OF THE CARD.
         I FILED A COMPLAINT WITH THE SEEKONK PD AND THEY REFUSED TO FILE CHARGES. (SEE
         ~~~C~_ED_ ~~ ?"!°A.T~M~~T~_}-__D~~~Ng                 ~!
                                               ?~~y ~~~-~H-~~ __10_-8_]"fiE'( ~~~~~E!)_~?. C~E.A~ __"".1':f. ~<?_?M ,
                                                                                                                        Page 4 of 5
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II.        Basis for Jurisdiction

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                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
                       VIOLATION TO THE AMER! W/DISABILITY ACT 1990
                       HOUSING/DISCRIMINATION



                       --·--------------------------------
           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name) DAVID A SILVIA                                , is a citizen of the
                                                                                 ------------
                                            State of (name) RHODE ISLAND


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                                , is incorporated
                                            under the laws of the State of (name)
                                                                                    - - - - - - - - - - - - ~--
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                               , is a citizen of
                                                                       ----------------
                                            the State of (name)                                               0 r is a citizen of
                                             (foreign nation)


                                                                                                                             Page 3 of 5
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         CLEAN MY BATHROOM, EMPTY TRASH, AS TO THE ISSUE OF THE FALSE CREDIT CARD CHARGES.WE
         HAD A AGREEMENT TO PAY $600 WEEKLY, AND SOMTHING THAT I COULD NOT GET THE PD TO
         REALIZE, THE ONLY CHARGES THEY WERE AUTHORIZED TO MAKE WAS THE $600. ANY OTHER
         CHARGES WERE NOT AUTHORIZED WHICH FALLS INTO CREDIT CARD FRAUD.



          ---------                                                           -   ~-   - -   -- --- -         -   ----

V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          non-frivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11 .

          A.         For Parties Without an Attorney

                     1 agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys

                     Date of signing:




                     Name of Law Firm
                      Street Address
                      State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                        Page 5 of 5
